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9                          UNITED STATES DISTRICT COURT

10                                 DISTRICT OF NEVADA

11   CALVARY CHAPEL LONE MOUNTAIN,            Case No. 2:20-cv-00907 RFB-VCF
     a Nevada Non-profit Organization
12
                   Plaintiff,
13
     vs.
14
     THE HONORABLE STEPHEN F.
15   SISOLAK, in his official capacity as
     Governor of Nevada, et al.,
16
                   Defendants.
17
                        OPPOSITION TO PLAINTIFFS’ EMERGENCY
18                       MOTION FOR PRELIMINARY INJUCTION

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1          Defendants Steve Sisolak, in his official capacity as the Governor of Nevada and
2    Aaron D. Ford, in his official capacity as Attorney General of Nevada, and Justin Luna, in
3    his official capacity as Chief of the Nevada Division of Emergency Management (collectively
4    “Defendants”) hereby oppose Plaintiff Calvary Chapel Lone Mountain’s (“Plaintiff” or
5    “Calvary”) Emergency Motion for Preliminary Injunction.
6          This opposition is made and based upon all matters of record herein, the
7    Memorandum of Points and Authorities submitted herewith, and upon such oral
8    arguments as the court may allow at the time of hearing of this matter
9          DATED this 3rd day of June, 2020
10                                          AARON D. FORD
                                            Attorney General
11

12                                          By: /s/ Craig A. Newby
                                                CRAIG A. NEWBY (Bar No. 8591)
13                                              Deputy Solicitor General

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1                      MEMORANDUM OF POINTS AND AUTHORITIES
2    I.     INTRODUCTION
3           Nevada, like all other states, has declared an emergency to protect lives from the
4    COVID-19 global pandemic. Following scientific evidence and federal guidelines, Nevada
5    has implemented social distancing to protect Nevadans from COVID-19 to mitigate the risk
6    of exposure and spread. Social distancing involves, among other things, the distance
7    between people and the length of time people are exposed to each other. To minimize the
8    risk of transmitting COVID-19, social distancing requirements for larger gatherings where
9    people congregate together for extended periods of time need to be different than
10   requirements for individuals to engage in commerce. Nevada’s actions have “flattened the
11   curve,” and efforts continue to reopen the state slowly to ensure that the economic sacrifices
12   made to achieve this were not in vain. The reopening effort included Directive 021, issued
13   last Thursday, providing that religious organizations could begin conducting services
14   (including Sunday), under similar limitations placed on other mass gatherings and live
15   entertainment events.
16          Here, Plaintiff Calvary Chapel Lone Mountain (“Plaintiff” or “Calvary”) seeks a
17   preliminary injunction remedying an alleged “violation of the free exercise clause” and
18   “guarantees [for] religious freedoms.” ECF No. 11-1 at ¶ 3 (Decl. of Pastor Jimmy Morales).
19   It does so because Calvary believes churches that congregate people together for extended
20   periods of time should be treated the same as commerce.
21          Last Friday, the United States Supreme Court denied an injunction for a church that
22   also sought to open last Sunday May 31, 2020. There, as set forth below, the Supreme
23   Court recognized that social distancing is different for mass gatherings than for commerce,
24   and that there is a rational basis for this distinction.
25          For this reason and the others set forth below, Calvary is unlikely to succeed on the
26   merits in this case. For the foregoing reasons, the motion must be denied.
27   ///
28   ///



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1    II.    BACKGROUND
2           A.    The Global Pandemic
3           In January 2020, China identified a novel coronavirus causing what we now know
4    as COVID-19. Sui-Lee Wade and Donald G. McNeil, Jr., China Identifies New Virus
5    Causing      Pneumonialike        Illness,           N.Y.      TIMES      (Jan.     8,     2020),
6    http://www.nytimes.com/2020/01/08/health/china-pneumonia-outbreak-virus.html.                Less
7    than three months later, on March 11, 2020, the World Health Organization (“WHO”)
8    declared COVID-19 to be a pandemic. See WHO Director-General’s Opening Remarks
9    (Mar. 11, 2020), https://www.who.int/dg/speeches/detail/who-director-general-s-opening-
10   remarks-at-the-media-briefing-on-covid-19---11-march-2020.             The WHO “called … for
11   countries to take urgent and aggressive action ….” Id. The White House similarly declared
12   an    emergency      on   March        13,     2020.          https://whitehouse.gov/presidential-
13   actions/proclamation-declaring-national-emergency-concerning-novel-coronavirus-
14   disease-covid-19-outbreak/. Upon information and belief, each state has declared an
15   emergency as a result of COVID-19.
16          Despite this urging, COVID-19 spread quickly across the United States. To date,
17   more than five million people worldwide have been diagnosed as infected with COVID-19.
18   See Johns Hopkins Medical Center: Coronavirus Resource Center, COVID-19 Map (last
19   visited May 27, 2020), https://coronavirus.jhu.edu/map.html. Approximately 30% of those
20   diagnoses are in the United States. Id. More than three hundred fifty thousand people
21   have died worldwide, of which approximately one hundred thousand are Americans. Id.
22   There currently is no vaccine.
23          Based on how COVID-19 is spread, the CDC recommends that everyone practice
24   social distancing. According to the Centers for Disease Control and Prevention (“CDC”),
25   “[l]imiting face-to-face contact with others is the best way to reduce the spread of
26   coronavirus disease 2019 (COVID-19).”           See CDC Coronavirus Disease 2019, Social
27   Distancing   (last   accessed    May     27,    2020),      https://www.cdc.gov/coronavirus/2019-
28   ncov/prevent-getting-sick/social-distancing.html. To practice social or physical distancing,



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1    the CDC recommends that people do not gather in groups, stay out of crowded places, and
2    avoid mass gatherings. Id. The CDC further recommends avoiding “gatherings of any size
3    outside your household.” Id.
4          Simply put:
5                 When it comes to gatherings, the risk is not just based on how
                  many people there are, but rather how closely they are gathered
6                 and how they are interacting with each other. The risk does not
                  disappear in smaller gatherings.        It’s the distance and
7                 precautions that will make the difference.

8    See Social Distancing (last accessed May 27, 2020), https://nvhealthresponse.nv.gov/info/

9    event-organizers/.
10         Consistent with this practice, the White House issued guidance intended to slow the
11   spread of COVID-19, including recommendations that all people avoid social gatherings of
12   more than ten people and that indoor/outdoor venues, where groups of people congregate
13   and there is evidence of community transition, close. See The President’s Coronavirus
14   Guidelines   for     America,   30   Days   to    Slow   the   Spread   (Mar.   31,   2020),
15   https://www.whitehouse.gov/wp-content/uploads/2020/03/03.16.20_coronavirus-
16   guidance_8.5x11_315PM.pdf. Even now, according to Phase Two of the White House’s
17   “Opening Up America Again” guidelines, “[s]ocial settings of more than 50 people, where
18   appropriate distancing may not be practical, should be avoided unless precautionary
19   measures are observed.” White House, Opening Up America Again (last accessed May 27,
20   2020), https://www.whitehouse.gov/openingamerica/.
21         Simply put, COVID-19 remains a clear, present danger to the United States,
22   Nevada, and the world.
23         B.     Nevada’s Response to the Global Pandemic
24         Given the recommendations of the WHO and the CDC, Governor Sisolak declared a
25   state of emergency on March 12, 2020. 1 He did so pursuant to his authority under the laws
26   and constitution of the State of Nevada to contain the spread of COVID-19.
27

28
           1 Defendants request that the Court take judicial notice of Nevada’s emergency
     declaration and subsequent directives pursuant to Fed. R. Evid. 201.


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1           Nevada law defines an “emergency” as:
2                 [A]n occurrence or threatened occurrence for which, in the
                  determination of the Governor, the assistance of state agencies
3                 is needed to supplement the efforts and capabilities of political
                  subdivisions to save lives, protect property and protect the health
4                 and safety and persons in this state, or to avert the threat of
                  damage to property or injury to or the death of persons in this
5                 state.

6    NRS 414.0345. Under NRS 414.035, emergency management is “the preparation for and

7    the carrying out of all emergency functions, . . ., to minimize injury and repair damage

8    resulting from emergencies or disasters caused by . . . natural causes.” Id.

9           Subsequently, Governor Sisolak issued a series of emergency directives to mitigate

10   community spread of COVID-19 and provide a framework for social distancing consistent

11   with CDC guidelines as well as best practices adopted by the majority of other states. To

12   the extent Calvary contends that the most recent directive violates its constitutional rights,

13   it shall be reviewed in more detail.

14          C.    Directive 21 Treats Religion the Same or Better than Other Mass
                  Gatherings
15

16          Directive 021 implements Phase 2 of Nevada’s reopening. A true and correct copy of

17   Directive 021 is attached hereto as Exhibit A. Detailed review shows how it treats

18   religious organizations relative to other social gatherings that are most similar to it in how

19   people congregate together and communicate.

20                1.     Mass Gatherings Generally

21          Section 10 of Directive 021 addresses mass gatherings generally. It increases the

22   limit for mass gatherings to up to 50 people.

23   ///

24   ///

25   ///

26   ///

27

28   These     documents    are  located  on   the  Nevada    Governor’s                website   at
     http://gov.nv.gov/News/Emergency_Orders/Emergency_Orders/.


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1            It specifically reads as follows:
2                   SECTION 10: Section 1 of Directive 007 is hereby further
                    amended to provide that effective 12:01 am on May 29, 2020, the
3                   Nevada general public shall not gather in groups of more than
                    fifty in any indoor or outdoor area subject to the limitations of
4                   this section, whether publicly owned or privately owned where
                    the public has access by right or invitation, express or implied,
5                   whether by payment of money or not. Section 3 of Directive 007
                    shall remain in force.
6

7    As alleged by Calvary, religious organizations are being treated the same as mass

8    gatherings of the general public.

9                   2.      Numerous Other Venues Are Limited to No More than 50 People

10           Directive 021 imposes limits to the lesser of 50% occupancy or 50 people to numerous

11   activities and venues within Nevada. These include:

12      •    Non-retail indoor venues, such as movie theatres, bowling alleys, and arcades; (see

13           id. at § 20)

14      •    Museums, art galleries, zoos, and aquariums; (see id. at § 30) and

15      •    Trade schools and technical schools. Id. at § 32.

16   Further, Directive 021 maintains stricter limits on live performances of all types,

17   prohibiting spectators. Specifically, Section 22 states:

18                  SECTION 22: Effective 12:01 am on May 29, 2020, musical
                    performances, live entertainment, concerts, competitions,
19                  sporting events, and any events with live performances may
                    resume, but shall remain closed for public attendance. Events
20                  held pursuant to this section may be recorded, filmed, streamed
                    or broadcast to the public. Live events ordinarily regulated by
21                  the Nevada Athletic Commission or the Nevada Gaming Control
                    Board must be approved by the applicable board prior to the
22                  event. All other live events under this Section must be approved
                    by the Nevada Department of Business & Industry, Division of
23                  Industrial Relations prior to the event. Events held pursuant to
                    this Section must additionally comply with all guidance
24                  promulgated by NV OSHA.

25                  3.      Communities of Worship and Faith-Based Organizations
26           With this context, it now makes sense to consider the provision Calvary contests.
27   Section 11 of Directive 021 addresses communities of worship and faith-based
28   organizations. Identical to mass gatherings generally and with equal treatment as to



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1    numerous other gatherings, services are limited to fifty people. Specifically, this provision
2    reads as follows:
3                 SECTION 11: Communities of worship and faith-based
                  organizations, including without limitation, churches,
4                 synagogues, mosques, and temples, are strongly encouraged to
                  offer online and drive-up services to the greatest extent possible.
5                 Effective 12:01 am on May 29, 2020, consistent with other
                  Directives on public gatherings, houses of worship may conduct
6                 indoor in-person services in a manner so that no more than fifty
                  persons are gathered, and all social distancing requirements are
7                 satisfied. This limitation shall not apply to houses of worship
                  offering drive-up services pursuant to Section 10 of Directive
8                 016. Houses of worship offering indoor, in-person services are
                  encouraged to follow the guidelines promulgated by the LEAP,
9                 as well as the following provisions that are consistent with other
                  Directives on public gatherings:
10                (1)     Seating must be arranged to ensure a minimum of six feet
                  of separation between congregants who do not reside in the same
11                household.
                  (2)     Participants, including leaders and staff, are encouraged
12                to utilize face coverings to the greatest extent practicable.
                  (3)     Houses of worship are encouraged to stagger services so
13                that the entrance and egress of congregants for different services
                  do not result in a gathering greater than fifty persons, and to
14                provide proper sanitation between services.

15         Plain comparison of the Directive 021 provisions highlights the same treatment for

16   similar types of gatherings, premised on their relatively higher risk of COVID-19

17   transmission. It is rational and warranted as Nevada continues to ensure safety, which

18   will allow its person-based tourism economy to recover and succeed again. Complaints that

19   mass gatherings must be treated the same as commerce, which involves entirely different

20   lengths and types of person-to-person contact, have been rejected by numerous courts

21   through the United States, including the Supreme Court and the Ninth Circuit, and must

22   be rejected here.

23         D.     Plaintiff’s Allegations

24         Calvary filed its complaint on May 20, 2020. ECF No. 1. In paragraph one of its

25   complaint, Calvary alleges that it “was ordered to cease all gatherings at their locations

26   and bring this action as themselves and on behalf of parishioners for violations of their

27   Free Exercise Clause guaranteed by Amendment I of the United States Constitution and

28   other violations.” Id. While Section (1)(c) of the Prayer for Relief seeks declaratory relief



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1    for “places of worship,” the sole federal claim for relief asserted within the Complaint
2    referencing religion is Calvary’s Third Claim for Relief, titled “Violation of the Equal
3    Protection Clause of the Fourteenth Amendment.” Id. at 24:22-26:10; 31:1-11. The Sixth
4    Claim for Relief references Nevada’s equivalent to the federal “Free Exercise Clause,” but
5    it is not asserted by Calvary as a federal claim. Id. at 27:22 – 28:20. There are no other
6    First Amendment claims asserted within the Complaint.
7           Calvary filed this motion on May 21, 2020. ECF No. 11. The legal argument focuses
8    almost entirely on a federal Free Exercise Clause claim that Calvary has not filed in this
9    case. Further, Calvary did not specifically state what it wants injunctive relief to do.
10   Accordingly, in light of Directive 021, this Court ordered Calvary to submit a supplement
11   identifying the specific injunctive relief it wants. ECF No. 13.
12          Instead of identifying the specific injunctive relief desired, Calvary concludes that
13   “the Court should enter a preliminary injunction from enforcement of Emergency
14   Directives 20-003 et seq. or any matter impacting Plaintiffs constitutional interests that
15   precludes their ability to participate in places of worship as it does in secular businesses”
16   and adopt “guidelines substantiated by empirical data and guidelines based on fire code
17   restrictions rather than the ad hoc mandates issued on the basis of random numbers
18   unsupported by any data.” ECF No. 15 at 17:2-9. The specific relief that Calvary wants
19   the Court to enter is still not clear.
20          Further, instead of addressing Directive 021’s actual language as instructed by this
21   court, Calvary makes an incomprehensible claim that Defendants’ inability to stop protests
22   related to the death of George Floyd specifically and police brutality generally constitutes
23   disfavoring religion. See generally ECF No. 15 at 9:14-11:6. Because local authorities did
24   not stop hundreds (if not thousands) of protesters from violating social distancing
25   requirements, Calvary contends that this makes such policies unenforceable against them. 2
26          2Calvary wrongly asserts that Defendant Ford threatened Calvary’s pastor or
27   congregants with arrest. Id. at 11:3-7. This is simply not true. Subsequently, one attorney
     for Calvary attempts to argue her interpretation of a conversation to which she was not a
28   party. See ECF No. 16. This is hearsay and a non-retraction retraction of the false
     statement. In any event, the sole relevance any of it has to the motion is further


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1    This is ridiculous and purported discrimination on the basis of the content of a
2    communication is not a claim asserted by Calvary in this case.
3            Calvary’s inability to get its allegations and claims straight further warrant denial
4    of this motion.
5    III.    LEGAL STANDARD FOR INJUNCTIVE RELIEF
6            To obtain a preliminary injunction, Calvary must demonstrate that (1) they are
7    likely to succeed on the merits, (2) they are likely to suffer irreparable harm in the absence
8    of preliminary relief, (3) the balance of equities tips in their favor, and (4) an injunction is
9    in the public interest. Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008). This
10   traditional test applies absent Plaintiff’s ability to demonstrate that the balance of equities
11   tips sharply in their favor. Fox Broad. Co. v. Dish Network L.L.C., 747 F.3d 1060, 1066 n.2
12   (9th Cir. 2014).
13           Calvary cannot meet this burden because they are unlikely to succeed on the merits
14   of their claim. Further, Calvary cannot demonstrate irreparable harm, as nothing prevents
15   them from offering additional services if necessary to accommodate all congregants.
16           Finally, the balance of equities and the public interest during these unprecedented
17   times weigh heavily against injunctive relief. Nevada is in the midst of an extended public
18   health emergency. Its efforts to mitigate the spread of COVID-19 to avoid overwhelming
19   health resources have worked thus far. Temporary, narrowing restrictions on the size of
20   mass gatherings, including for religious services, do not outbalance the health and well-
21   being of all Nevada citizens. In light of the tremendous uncertainty continuing to surround
22   this new and deadly virus, it would be rash to eliminate the entire restriction for this
23   certain type of mass gathering before public-health officials have had the opportunity to
24   evaluate evidence of the policy’s effectiveness in practice.
25           The motion should be denied.
26   ///
27

28   demonstration of why the Constitution provides emergency police powers to the States,
     rather than to unelected attorneys.


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1    IV.    LEGAL ARGUMENT
2           A.      Calvary is Unlikely to Succeed on the Merits of its Claims
3                   1.      Calvary Lacks Standing to Bring this Claim
4           Article III, § 2 of the U.S. Constitution states that the federal courts may only
5    adjudicate “Cases” and “Controversies.” See Lujan v. Defenders of Wildlife, 504 U.S. 555,
6    559 (1992).     The case-or-controversy requirement of Article III requires that Calvary
7    establish its “standing” as a jurisdictional prerequisite to the prosecution of this law suit.
8    Clapper v. Amnesty Int’l USA, 586 U.S. 398, 408 (2013). To establish standing, Calvary
9    must show that their alleged injury is “actual or imminent, not conjectural or hypothetical.”
10   Lujan, 504 U.S. at 560 (internal quotations and citations omitted). Injury in fact is “the
11   ‘[f]irst and foremost’ of standing's three elements.” Spokeo Inc. v. Robins, 136 S. Ct. 1540,
12   1547 (2016) (alteration in original) (quoting Steel Co. v. Citizens for a Better Env't, 523 U.S.
13   83, 103, 118 S.Ct. 1003, 140 L.Ed.2d 210 (1998)).
14          Additionally, Calvary must also show a “causal connection” between the alleged
15   injury and the conduct about which they complain. Id. Further, Calvary may not offer
16   mere speculation that a decision in their favor will redress their alleged injury. Id. at 561.
17   Finally, Calvary must demonstrate standing separately for each form of relief sought.
18   Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 185 (2000).
19          Here, Calvary asserts state law issues unrelated to their primary Free Exercise
20   argument without allegations of whether or how it was injured and without legal authority
21   for how this federal court has authority to order Nevada to comply with Nevada law.
22   Calvary lacks standing to assert those claims before this court.
23                          a.      Calvary has not Suffered Any Injury-in-Fact for the State
                                    Law Arguments Asserted in this Motion
24

25          “An injury in fact is ‘an invasion of a legally protected interest which is: (a) concrete

26   and particularized, and (b) actual and imminent, not conjectural or hypothetical.’” Id.

27   “Plaintiffs must demonstrate a ‘personal stake in the outcome.’” City of Los Angeles v. Lyons, 461 U.S. 95, 101

28   (1983) (quoting Baker v. Carr, 369 U.S. 186, 204 (1962)). “Abstract is not enough.” Id. at 102.



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1          In addition to its arguments pertaining to the Free Exercise Clause, Calvary asserts
2    additional legal arguments such as the regulatory process for adopting emergency
3    regulations (Mot. at 17:1-19:3) 3 and the purported suspension of open meetings laws (id. at
4    19:4-27). This may be due to confusion by Calvary’s counsel between this case and other
5    federal court cases against the Governor’s emergency directives. 4 In any event, there are
6    no allegations within this complaint that Calvary has been injured (in fact or at all) by
7    these provisions. Accordingly, Calvary lacks standing to assert arguments against those
8    provisions (as pled) and such claims should be dismissed by this court.
9                       b.     Calvary’s Claim Lacks Redressability
10         Redressability is defined as “a likelihood that the requested relief will redress the
11   alleged injury.” Steel Co. v. Citizens for a Better Env’t., 523 U.S. 83, 103 (1998). To
12   demonstrate this prong, a plaintiff must show that it is “likely,” as opposed to merely
13   “speculative,” that the injury will be “redressed by a favorable decision.” Lujan, 504 U.S.
14   at 561. This inquiry requires a court to examine whether it is the effect of the court’s
15   judgment on the defendant – not an absent third party – that redresses the plaintiff’s
16   injury, whether directly or indirectly.     McDonald v. Dep’t of Homeland Sec., No.
17   205CV00909KJDRJJ, 2006 WL 8442921, at *2 (D. Nev. June 6, 2006) (quoting Simon v. E.
18   Ky. Welfare Rights Org. 426 U.S. 26, 41-42 (1976).
19          Claims under 42 U.S.C. § 1983 provide redress for “the deprivation of any rights,
20   privileges, or immunities secured by the Constitution and laws [of the United States]…”
21   Baker v. McCollan, 443 U.S. 137, 140 (1979). In short, for Section 1983 claims, the Court
22   can assess only alleged violations of federal constitutional rights. Id. This is for good
23   reason. “[I]t is difficult to think of a greater intrusion on state sovereignty than when a
24

25
           3 The Governor has the power to declare an emergency and to perform and exercise
     such functions, powers, and duties as are necessary to promote and secure the safety and
26   protection of the civilian population. NEV. CONST. art. 5, § 1; NRS 414.070.

27
           4 See Capelli Milano, LLC et al. v. Sisolak et al., Case No. 2:20-cv-00827-APG-NJK
     (D. Nev. May 7, 2020); Reno Academy of Conduct, LLC, et al. v. Sisolak et al., Case No.
28   3:20-cv-00305-MMD-WGC (D. Nev. May 22, 2020). To undersigned counsel’s knowledge,
     proper service has not been completed for any of these cases.


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1    federal court instructs state officials on how to conform their conduct to state law.”
2    Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 106 (1984).
3           Here, Calvary asserts three Nevada law claims against Nevada in federal court.
4    Such claims are not properly before this Court and must be dismissed. This includes the
5    sole claim associated with religion, as pled by Calvary.
6           This alone warrants denial of the motion.
7                 2.    The Exercise of Emergency Police Powers During a Public
                        Health Crisis Warrants Additional Deference by a Court
8

9           Nevada’s power to regulate public health and safety, including the greater power of

10   quarantine, predate the Constitution. 5    The Supreme Court has recognized that the

11   Constitution’s reserves power to the states to regulate public health, safety, and morals.

12   Gibbons v. Ogden, 22 U.S. 1 (1824). The United States Supreme Court has explicitly upheld

13   the exercise of broad quarantine powers by the states. Compagnie Francaise de Navigation

14   a Vapeur v. Louisiana State Board of Health, 186 U.S. 380, 387 (1902).

15          More recently, though more than one hundred years ago, the Supreme Court

16   established a framework governing the emergency exercise of state authority during a

17   public health crisis. Jacobson v. Massachusetts, 197 U.S. 11, 27 (1905).

18          Facing a compulsory vaccination law enacted during the smallpox epidemic, the

19   Court described the state’s police power to combat an epidemic:

20                In every well-ordered society charged with the duty of conserving
                  the safety of its members, the rights of the individual in respect
21                to his liberty may at times, under the pressure of great dangers,
                  be subjected to such restraint, to be enforced by reasonable
22                regulations, as the safety of the public may demand.

23   Id. at 29.

24          There, the Court held that when a state exercises emergency police powers to enact

25   an emergency public health measure, courts will uphold it unless (1) there is no real or

26
            The earliest law providing for quarantine was enacted by the Massachusetts Bay
            5

27   Colony in 1647 to quarantine ships from the West Indies due to the threat of plague.
     Rothstein, Mark A., From SARS to Ebola: Legal and Ethical Considerations for Modern
28   Quarantine, 12 Ind. Health L. Rev. 227, 230 (2015). The quarantine power was especially
     important in port cities, such as New York and Boston. Id.


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1    substantial relation to public health, or (2) the measures are “beyond all question” a “plain
2    palpable violation of rights secured by the fundamental law.” Id. at 30. This recognizes
3    that “a community has the right to protect itself against an epidemic of disease which
4    threatens the safety of its members.” Id. at 28. As the Court explained, “[t]he possession
5    and enjoyment of all rights are subject to such reasonable conditions as may be deemed by
6    the governing authority of the country essential to the safety, health, peace, good order,
7    and morals of the community.” Jacobson, 197 U.S. at 26-27. The Court further held that
8    during public health crises, “it is no part of the function of a court …to determine which of
9    two modes was likely to be the most effective for the protection of the public against
10   disease.” Id. at 30.
11         Courts throughout the past century have consistently applied Jacobson to public
12   health emergencies. See, e.g., Liberian Cmty. Ass’n of Connecticut v. Malloy, 2017 WL
13   4897048, at *10 (D. Conn. Mar. 30, 2017) (applying Jacobson standard to Ebola
14   quarantine); Boone v. Boozman, 217 F.Supp.2d 938, 954 (E.D. Ark. 2002) (applying
15   Jacobson standard to compulsory school immunization); Prince v. Massachusetts, 321 U.S.
16   158, 166-67 (1944) (applying Jacobson framework stating the “[r]ight to practice religion
17   freely does not include the liberty to expose the community. . . to communicable diseases”).
18         During the current global pandemic, courts have applied Jacobson as well. See, e.g.,
19   In re Abbott, 954 F.3d 772, 778 (5th Cir. 2020) (applying Jacobson framework to
20   constitutional challenge to executive order by Texas Governor relating to COVID-19); Elim
21   Romanian Pentecostal Church et al. v. Pritzker, Case No. 20-1811, 2020 WL 2517093 (7th
22   Cir. May 16, 2020).
23         Last Friday, May 29th, the Supreme Court denied injunctive relief for a California
24   church challenging California’s similar temporary restrictions on public gatherings in light
25   of the COVID-19 crisis, reaffirming the applicability of Jacobson. 6 See South Bay United
26         6 California’s restriction was the lesser of 25% of building capacity or a maximum
27   100 attendees. Such a restriction, applied to Calvary, would limit Calvary to approximately
     45 people per service. See Mot. at 3:15-19. In short, the California order is more restrictive
28   than Nevada’s emergency directive, yet the United States Supreme Court denied injunctive
     relief.


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1    Pentecostal Church, et al. v. Newsom, et al. Case No. 19A1044, 2020 WL 2813056 at *1 (May
2    29, 2020), a true and correct copy of which is attached hereto as Exhibit B. There, the
3    Court rejected injunctive relief, consistent with the Ninth Circuit’s denial of injunctive
4    relief. Id.
5           To begin with, the Supreme Court noted the difference between mass gatherings and
6    commerce. Specifically, the Court stated that California’s restrictions “apply to comparable
7    secular gatherings, including lectures, concerts, movie showings, spectator sports, and
8    theatrical performances, where large groups of people gather in close proximity for
9    extended periods of time.” Id. The Court further noted that California’s restrictions are
10   more lenient for dissimilar activities, “in which people neither congregate in large groups
11   nor remain in close proximity for extended periods.” Id.
12          Next, the Supreme Court reaffirmed Jacobson and the discretion of state officials
13   such as Defendant to make emergency public health determinations. Specifically, the
14   Court noted that “[o]ur Constitution principally entrusts ‘[t]he safety and the health of the
15   people’ to the politically accountable officials of the States ‘to guard and protect.’” Id.
16   (quoting Jacobson, 197 U.S. at 38). Further, the Court held that when “those officials
17   ‘undertake [ ] to act in areas fraught with medical and scientific uncertainties,’ their
18   latitude ‘must be especially broad.’” South Bay, 2020 WL 2813056 at *1 (quoting Marshall
19   v. United States, 414 U.S. 417, 427 (1974)). Finally, “[w]here those broad limits are not
20   exceeded, they should not be subject to second-guessing by an ‘unelected federal judiciary,’
21   which lacks the background, competence, and expertise to assess public health and is not
22   accountable to the people.’” Id. (quoting Garcia v. San Antonio Metro. Transit Auth., 469
23   U.S. 528, 545 (1985)).
24          Under Jacobson, as reaffirmed by South Bay, Plaintiffs cannot prevail.          First,
25   Calvary cannot establish that the emergency declaration and related directives have no
26   real or substantial relation to public health. More than one hundred thousand Americans
27   have died so far. Hospitals were overrun in Italy and New York City. Until there is a
28   vaccine, the primary method for preserving a “flattened curve” is social distancing. Social



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1    distancing has been recommended by the World Health Organization, the CDC, and the
2    federal government.       Reducing prolonged exposure warrants limitations on mass
3    gatherings, such as those set forth in Directive 021 for a variety of activities and venues,
4    specifically including faith-based organizations.
5             Moreover, and as set forth above, mass gatherings are different than commerce,
6    based on the length of time a person is exposed to others who may be infected with COVID-
7    19. The emergency declaration and subsequent directives have addressed this public
8    health risk.    Similar to California’s order at issue in South Bay, comparable secular
9    gatherings are subject to similar or more severe restrictions than places of worship, while
10   dissimilar commerce activities where people neither congregate in large groups nor remain
11   in close proximity for extended periods are treated more leniently.
12            Second, Calvary cannot establish that the emergency declaration and related
13   directives are “beyond all question” a “plain palpable violation of rights secured by the
14   fundamental law.” To be sure, the free exercise of religion is constitutionally protected.
15   But as Supreme Court stated in Prince v. Massachusetts, the “[r]ight to practice religion
16   freely does not include the liberty to expose the community. . . to communicable diseases”.
17   321 U.S. at 166-67.
18            In fact, Defendants submit that the emergency declaration and related directives
19   comply with the United States and Nevada Constitutions even if this was an ordinary
20   exercise of the State’s police power, versus the emergency currently faced by the United
21   States, Nevada, and the world. Calvary’s claims will be analyzed under those standards
22   below.
23                  3.     The Directives do not Violate the Free Exercise Clause
24            Under traditional analysis of the Free Exercise Clause, “neutral, generally
25   applicable laws” are subject to rational basis review, even where they are applied to
26   religious practices. Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 694 (2014); see also
27   Employment Division v. Smith, 494 U.S. 872 (1990). In short, if the Orders do not target
28   religion, “the First Amendment has not been offended.” Employment Division, 494 U.S. at



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1    878. Because the Directives at issue in this case are neutral laws of general applicability,
2    rationally based on the State’s goals of mitigating the spread and contraction of COVID-
3    19, similar to what the Supreme Court determined to “appear consistent with the Free
4    Exercise Clause of the First Amendment,” Plaintiffs’ claims fail.
5                        a.     The Directives are Generally Applicable
6          These orders are generally applicable. As the Supreme Court explained in Lukumi,
7    although “[a]ll laws are selective to some extent, …categories of selection are of paramount
8    concern when a law has the incidental effect of burdening religious practice.” Lukumi, 508
9    U.S. at 542. Even “in pursuit of legitimate interests,” the government “cannot in a selective
10   manner impose burdens only on conduct motivated by religious belief.” Id. at 543.
11         Calvary ignores the difference in type of assembly as the entities – both religious
12   and secular – that are subject to the orders. Schools (to the extent open at all), live concert
13   halls, movie theatres, and sports venues that wish to have spectators are burdened
14   similarly to faith-based organizations. The places covered are places where “people sit
15   together in an enclosed space to share a communal experience.” Gish v. Newsom, 2020 WL
16   1979970 (Apr. 23, 2020). The Governor has not selectively “impose[d] burdens only on
17   “religious conduct, but rather equally on all types of conduct that are likely to spread
18   COVID-19. See Lukumi, 508 U.S. at 543.
19                       b.     The Directives are Neutral
20         A law is not neutral if its object is to “infringe upon or restrict practices because of
21   their religious motivation.” Church of the Lukumi Babalu Aye v. City of Hialeah, 508 U.S.
22   520, 533 (1993). A lack of neutrality can be clear from the face of the law if it “refers to a
23   religious practice without a secular meaning discernable from the language or context.” Id.
24   But the Free Exercise Clause also forbids “subtle departures from neutrality,” including
25   evidence of bias that might not be reflected in the law’s text. Masterpiece Cakeshop, Ltd.
26   v. Colo. Civil Rights Comm’n., 138 S.Ct. 1719, 1731 (2018).
27         In determining if a law’s object is neutral, courts consider “the effect of [the] law in
28   its real operation” and often call upon principles developed in equal protection cases.



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1    Lukumi, 508 U.S. at 535, 540. Thus, a law will be found to violate the Free Exercise Clause
2    if it was enacted “because of,” not merely “in spite of,” its restrictions on religious practice.
3    Id. at 540. Relevant evidence on this point can include a proscription of religious activity
4    in a way not applied to comparable secular activity; a “pattern” of “animosity” towards the
5    religious group be the drafters; and the suppression of “much more religious conduct that
6    is necessary” to achieve the asserted, legitimate purposes. Id. at 536, 542, 543.
7          Here, the Directives are plainly neutral.          They prohibit all mass gatherings
8    exceeding fifty people, whether general mass gatherings, religious services, movie theaters,
9    or trade schools. They prohibit live entertainment venues from having any spectators.
10   Calvary offers no facts suggesting that Governor Sisolak has any animus towards religious
11   organizations.    Moreover, churches remain free to conduct drive-in services, online
12   programs, and in-person assemblies of up to fifty people, consistent with the White House’s
13   Phase 2 guideline. Merely referencing religious activity separately as part of a list of
14   broader mass gatherings covered by the fifty-person limit does not show that the order’s
15   “object or purpose” was to target religious activity for harsher treatment. Id. at 533.
16   Instead, the orders are designed to restrict only the aspects of the religious conduct – the
17   large, in-person gatherings for extended time periods – that undermine the secular purpose
18   of slowing the spread of COVID-19. This in no way suppresses “much more religious
19   conduct that is necessary” to achieve the goal of mitigation and “flattening the curve”
20   during the current pandemic.
21         Nevertheless, Calvary asserts that the orders are not neutral because religious
22   organizations are being treated differently than businesses, such as “box stores, grocery
23   stores, construction sites, etc.” Mot. at 22:1. However, in this Free Exercise analysis, the
24   question is not whether any secular entity faces fewer restrictions than any religious one.
25   To be comparable, the secular conduct must “endanger[] [the government’s] interests in a
26   similar or greater degree than” the religious conduct. Lukumi, 508 U.S. at 543. And box
27   stores, grocery stores, and construction sites, characterized by transiency and …, simply do
28   not pose the same amount of threat of exposure to and spread of COVID-19 as do religious



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1    institutions that hold hours-long services with its congregants sitting in close proximity.
2    Such has been the finding in the majority of cases nationwide, which have rejected
3    challenges to similar orders.
4             The Supreme Court upheld this analysis in South Bay United Pentecostal Church,
5    et al. v. Newsom, et al. Case No. 19A1044, 2020 WL 2813056 at *1 (May 29, 2020). Prior to
6    the Supreme Court’s consideration, the Ninth Circuit upheld the denial of a request for
7    injunctive relief tied to holding any in-person religious services pursuant to the State of
8    California and County of San Diego’s stay-at-home orders. Case No. 20-55533, 2020 WL
9    2687079 (9th Cir. May 22, 2020). Similarly, the Seventh Circuit denied a request for
10   injunctive relief on a free-exercise claim against Illinois’ emergency orders, recognizing that
11   the temporary numerical restrictions applied “also to the most comparable types of secular
12   gatherings, such as concerts, lectures, theatrical performances, or choir practices, in which
13   groups of people gather together for extended periods, especially where speech and singing
14   feature prominently and raise risks of transmitting the COVID-19 virus.” Elim Romanian
15   Pentecostal Church et al. v. Pritzker, Case No. 20-1811, 2020 WL 2517093 (7th Cir. May 16,
16   2020).     The Seventh Circuit further observed that “[w]orship services do not seem
17   comparable to secular activities permitted under the Executive Order, such as shopping, in
18   which people do not congregate or remain for extended periods.” Id.
19            Two district courts within this circuit have likewise rejected Free Exercise
20   challenges to California’s emergency orders. In Cross Culture Christian Center et al. v.
21   Newsom, the court recognized the difference between individuals purchasing various items
22   as different than in-person church services, which are designed to be a communal
23   experience, one for which a large group of individuals come together at the same time in
24   the same place for the same purpose. See Cross Culture Christian Center et al. v. Newsom,
25   Case No. 2:20-cv-00832-JAM-CKD, 2020 WL 2121111, at *6 (E.D. Calif. May 5, 2020),
26   (internal quotations omitted). Instead, the court found that in-person religious services are
27   more akin to attending concerts and sporting events. Id.
28   ///



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1          Similarly, in Gish v. Newsom, the district court noted that “[a]n in-person religious
2    gathering is not analogous to picking up groceries, food, or medicine, where people enter a
3    building quickly, do not engage directly with others except at points of sale, and leave once
4    the task is complete.” 7 Gish v. Newsom, Case No. EDCV-20-755JGB (KKx), 2020 WL
5    1979970, at *6 (C.D. Cal. Apr. 23, 2020).
6          In this context, where the Supreme Court has weighed in on substantively the same
7    legal issue, Calvary’s reliance on Maryville Baptist Church v. Beshear is misplaced. 957
8    F.3d 610 (6th Cir. 2020). There, the Sixth Circuit did not consider the differences between
9    commerce and in-person church services, as did the Supreme Court, the Seventh Circuit,
10   and the Ninth Circuit, before overturning the emergency order at issue. And in Roberts v.
11   Neace, the Sixth Circuit actually stated that the “straightforward remedy” for addressing
12   the in-person religious services risk was to “limit the number of people who can attend a
13   service at one time.” 958 F.3d 409, *5 (6th Cir. 2020). Consistent with White House
14   guidance, this is precisely what Nevada has done for all mass gatherings, including at
15   churches. The Supreme Court has rejected this argument.
16         This court should reject this argument as well.
17                3.     The Directives do not Violate the Equal Protection Clause
18
           Calvary has asserted an Equal Protection claim in this case, without arguing its
19
     violation by Defendants in the motion for purposes of granting injunctive relief. Out of an
20
     abundance of caution, Defendants will address this claim.
21
           The Fourteenth Amendment provides, in relevant part, that [n]o State shall …deny
22
     to any person within its jurisdiction the equal protection of the laws.” “The general rule is
23
     that legislation is presumed to be valid and will be sustained if the classification drawn by
24

25
           7  Other district courts have resolved Free Exercise challenges the same way. See,
     e.g., Antietam Battlefield KOA v. Hogan, No. CV CCB-20-1130, 2020 WL 2556496, at *7–9
26   (D. Md. May 20, 2020); Legacy Church, Inc. v. Kunkel, Case No. Civ. 20-0327 JB/SCY, 2020
     WL 1905586 (D.N.M. Apr. 17, 2020); Cassell v. Snyders, Case No. 20 C 50153, 2020 WL
27   2112374 (N.D. Ill. May 3, 2020); Lighthouse Fellowship Church v. Northam, Case No.
     2:20cv204, 2020 WL 2110416, at *8 (E.D. Va. May 1, 2020); Calvary Chapel of Bangor v.
28   Mills, Case No. 1:20-cv-00156-NT, 2020 WL 2310913, at *8 (D. Me. May 9, 2020); Spell v.
     Edwards, 2020 WL 2509078 (M.D. La. May 15, 2020).


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1    the statute is rationally related to a legitimate state interest.” City of Cleburne v. Cleburne
2    Living Ctr., 473 U.S. 432, 440 (1985). This test is “highly deferential” to the government.
3    United States v. Hancock, 231 F.3d 555, 566 (9th Cir. 2000). “The general rule give way,
4    however, when a statute classifies by race, alienage, or national origin.” City of Cleburne,
5    473 U.S. at 440. No such claim is presented here.
6          Applying the rational basis test, Plaintiff’s Fourteenth Amendment claim fails.
7    Calvary is not being treated differently than any other mass gathering that congregates
8    people for an extended period of time. Limits on mass gatherings, which involve longer,
9    more prolonged exposure to others who may be infected with COVID-19, are rationally
10   related to reducing the spread of COVID-19. Keeping Nevadan citizens alive and healthy
11   is a legitimate state interest. Calvary is unlikely to succeed on this claim.
12         Accordingly, strict scrutiny does not apply to Nevada’s emergency declaration and
13   subsequent directives on this basis.
14                 4.    The Directives Comply with Rational Basis Review
15         Because the orders are neutral and generally applicable, Calvary has to show that
16   they are unsupported by a rational basis to prevail. See Burwell v. Hobby Lobby stores,
17   Inc., 573 U.S. 682, 694 (2014). Given the State’s interest in limiting the spread of COVID-
18   19, a highly contagious illness that spreads more easily through close contact, Calvary is
19   unable to make such a showing.
20         Further, Calvary’s analysis as to why the emergency directives do not constitute the
21   “least restrictive means” of furthering any compelling interest highlights why Jacobson
22   and South Bay provide state officials with added discretion when exercising emergency
23   police powers. It is not the place of Calvary, Calvary’s counsel, or this court to exercise
24   discretion on where or how to protect public health against a novel, highly contagious virus.
25         Here, the Governor’s Orders were developed in response to an emergency situation.
26   Id. at 543. Unlike the ordinance at issue in Lukumi, the Governor’s Orders do not “pursue
27   the [State]’s governmental interests only against conduct motivated by religious belief.” Id.
28   at 545. There were not “gerrymandered with care to proscribe religious” gatherings. Id. at



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1    521. Rather, the Directives pursue the goal of slowing the spread of a deadly pandemic and
2    saving lives by closing temporarily all places where more than fifty people might gather,
3    subject to certain exceptions that are themselves designed carefully to preserve life, health,
4    and livelihood. This specifically includes grocery stores to provide food allowing people to
5    cook while staying at home. Cf. id. at 537.
6          The Governor’s Orders are neutral and generally applicable. They are facially
7    neutral, do not “target” religious establishments, and are not underinclusive. Again, “[t]he
8    right to practice religion freely does not include liberty to expose the community …to
9    communicable disease…ill health or death.” Prince v. Massachusetts, 312 U.S. 158, 166-67
10   (1944). For these reasons, Calvary is unlikely to succeed on the merits of its Free Exercise
11   claim. This warrants denial of the motion.
12         B.     Calvary is Unlikely to Suffer Irreparable Harm without an Injunction
13         Here, Calvary was already allowed to conduct in-person church services for up to 50
14   people a service, while continuing virtual services. Simply doubling the number of existing
15   church services would allow Calvary to conduct in-person church services for its entire
16   congregation.    Particularly where these mass gathering requirements are generally
17   applicable, there is no factual basis for concluding that Calvary has or will suffer
18   irreparable harm.
19         C.     The Balance of the Equities Favors Protecting Nevadans
20         To prevail on their Motion, Calvary must also show that the balance of the equities
21   weigh in their favor. It does not.
22          “A preliminary injunction is an extraordinary remedy never awarded as of right. In
23   each case, courts “must balance the competing claims of injury and must consider the effect
24   on each party of the granting or withholding of the requested relief.” Winter, 555 U.S. at
25   24 (internal citations omitted).
26         Here, Calvary presumes it should be treated the same as a business operating in
27   commerce, ignoring the difference between commerce and mass gatherings for purposes of
28   COVID-19 risk. The Supreme Court and the Ninth Circuit have rejected ignoring these



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1    differences. In contrast, the Governor has an obligation to protect Nevadans’ health and
2    well-being, based on the risk. Consistent with White House guidelines for mass gatherings,
3    the Governor has implemented directives to slowly reopen Nevada to ensure the curve stays
4    flat and that there is not a need to revert back to earlier phases that required further
5    sacrifices from all Nevadans to remain safe.
6           D.     Denying the Injunction Protects Nevadans from Worsened Risk of
                   COVID-19
7

8           Calvary must also demonstrate that the granting of its Motion is in the public

9    interest. It is not.

10           “In exercising their sound discretion, courts of equity should pay particular regard

11   for the public consequences in employing the extraordinary remedy of injunction.” Winter,

12   555 U.S. at 24. Similar to Winter’s consideration of military interests, Nevada is currently

13   in battle with the most significant public health emergency in over a century. To be clear,

14   after the World Health Organization declared a pandemic, President Trump declared a

15   nationwide emergency on March 13, 2020. See http://www.whitehouse.gov/presidential-

16   actions/proclamation-declaring-national-emergency-concerning-novel-coronavirus-

17   disease-covid-19-outbreak/. Governor Sisolak declared a Nevada emergency on March 12,

18   2020. Both the state and federal emergencies remain in effect.

19          There is no genuine doubt that Nevada has the power to protect the health of its

20   citizens, particularly in an emergency such as this. Prior to ratification of the Constitution,

21   various colonies had quarantine laws, thereby establishing the legal tradition of local and

22   state jurisdiction over matters of public health reflected in the Constitution’s reservation

23   of power to the states to regulate public health, safety, and morals. Gibbons v. Ogden, 22

24   U.S. 1 (1824).

25          It is in this context that Calvary seeks to substitute its judgment of the public

26   interest, seeking preference over any other mass gathering, for those representing us in

27   the local, state, and federal government.

28          This prong strongly warrants denial of the motion.



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1    V.    CONCLUSION
2          Nevada has had a successful beginning to its fight to limit death and injury

3    associated with COVID-19. This Court should not substitute its judgment for that of the

4    Governor during this ongoing emergency, particularly where Calvary is unlikely to succeed

5    on the merits of any claim and has not actually asserted a federal Free Exercise claim.

6          The motion for preliminary injunction should be denied.

7          DATED this 3rd day of June, 2020.
8                                           AARON D. FORD
                                            Attorney General
9
                                            By: /s/ Craig A. Newby
10                                              CRAIG A. NEWBY (Bar No. 8591)
                                                Deputy Solicitor General
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1                                CERTIFICATE OF SERVICE
2                I certify that I am an employee of the State of Nevada, Office of the Attorney
3    General, and that on this 3rd day of June, 2020, I electronically filed the foregoing
4    document,   OPPOSITION       TO    PLAINTIFFS’       EMERGENCY          MOTION      FOR
5    PRELIMINARY INJUNCTION, with the Clerk of the Court by using the CM/ECF
6    system.
7          Participants in the case who are registered CM/ECF users will be served by the
8    CM/ECF system.
9

10                                               /s/ Kristalei Wolfe
                                                 Kristalei Wolfe, and employee of the
11                                               Office of the Attorney General
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1                                  INDEX OF EXHIBITS
2    EXHIBIT                                                         NUMBER OF
                                EXHIBIT DESCRIPTION                    PAGES
3      NO.
       A        Directive 021                                            14
4

5               See South Bay United Pentecostal Church, et al. v.
       B        Newsom, et al. Case No. 19A1044, 2020 WL                  6
6               2813056 at *1 (May 29, 2020)

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